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lN THE UN|TED STATES DlSTRlCT COURT

 

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UN|TED STATES OF AMER|CA,

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Plaintiff, )
)
VS. ) CR. NO. 05-20094-B
)
JOSEPH JORDAN, )
)
Defendant. )

 

ORDER ON CHANGE OF PLEA
AND SE`|'|'|NG

 

This cause came to be heard on August 9, 2005, the United States Attorney for this district,
Joe l\/lurphy, appearing for the Government and the defendant, Joseph Jordan, appearing in person, and
with counsel, Dorris Holt, who represented the defendant

With leave of the Court, the defendantwithdrew the not guilty plea heretofore entered and entered
a plea of guilty to Counts 1 through 6 of the lndictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this CaSe iS SET fOI' WEDNESDAY, NOVEMBER 9, 2005, at 9:00 A.M.,
in Courtroom No. 1, on the 11th floor before Judge J. Danie| Breen.

Defendant is allowed to remain released on present bond.
"\
ENTERED this the day of August, 2005.

 

J. DAN|EL BREEN
lTE STATES DlSTRlCT JUDGE

This document entered on the docket heet in compiiag;e
with Rule 55 and/or 32(b) FRCrP on E§\»~ 10 ' _Q )

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
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.1 oseph C Murphy

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Honorable .1. Breen
US DlSTRlCT COURT

